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From:             Furst, Mona (USADC)
To:               Joseph R. Conte (dcgunlaw@gmail.com)
Cc:               Gorup, Geoffrey (USADC)
Subject:          US v. Fellows Pro Se discovery provided in USAfx
Date:             Wednesday, February 16, 2022 3:27:02 PM
Attachments:      image001.png



Mr. Conte –
       The CCTV and some other items from the various 5 pro se discovery sent to Mr. Fellows
has been put into a folder for you to review. Not everything sent to Mr. Fellows or his prior
counsel are included.
Nor is Global discovery which you have access to through Relativity. Most of the Global
discovery materal was sent to Mr. Fellows via the jail, except for Sensitive and Highly Sensitive
materials.

      I also added two videos from other defendants that show Mr. Fellows in Senator
Merkley’s office, smoking marijuana. Below is a link to YouTube where a walk through was
filmed of the office after Jan. 6th.
       I also provided news interviews on CNN and WNYT of your interview. These were
provided previously but for your ease of access I have included them in the folder.

https://www.facebook.com/watch/?v=222464836136603

This is a screen shot of the subfolders.




Regards,

Mona Lee M. Furst
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